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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

PHYLLIS CARSON; LORNE                     )
COSMAN; WILLIAM DRAPER;                   )
PHILLIP ERICKSON; SCOTT EVANS;            )
TERENCE GRANER; DONALD                    ) C.A. No. 22-208-CFC
HARMAN; SARAH HOUSEHOLDER;                )
TRUDY L. GRANER; TRUDY                    )
LETSON; SABINE MILLER; DIANA              )
HOBERT-POWELL; JANET PURVIS;              )
PATRICIA ROBERTS; CAROLE                  )
SCHAUER; CARA WASHINGTON;                 )
STEPHEN KAPLITT; DEBORAH                  )
THELEN individually and on behalf of      )
all others similarly situated,            )
                                          )
             Plaintiffs,                  )
                                          )
       v.
                                          )
HP INC.,                                  )
                                          )
             Defendant.                   )

            JOINT STIPULATION AND [PROPOSED] ORDER

      WHEREAS, on May 23, 2022, Plaintiffs Phyllis Carson, Lorne Cosman,

William Draper, Phillip Erickson, Scott Evans, Terence Graner, Donald Harman,

Sarah Householder, Trudy L. Graner, Trudy Letson, Sabine Miller, Diana Hobert-

Powell, Jan Purvis, Patricia Roberts, Carole Schauer, Cara Washington, Stephen

Kaplitt, and Deborah Thelen on behalf of themselves and others similarly situated

(collectively, “Plaintiffs”) filed a First Amended Class Action Complaint (the

“Complaint”) against HP Inc. (“HP” or “Defendant”);
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      WHEREAS, the Complaint is 154 pages long, alleges violations of multiple

States’ consumer protection statutes, and requires the application of the law of at

least 11 different States;

      WHEREAS, HP intends to respond to the Complaint via a consolidated

motion to dismiss and to strike (the “Motion”);

      WHEREAS, under Local Rule 7.1.3 and Chief Judge Connolly’s standing

order of November 6, 2019, HP’s brief in support of its Motion is limited to 5,000

words;

      WHEREAS, the parties recognize that this Court’s preference is for parties to

comply with the Court’s word limitation described above;

      WHEREAS, the parties have conferred and agreed, subject to approval by the

Court, that based on the complexity of the issues raised in the Complaint and their

experience briefing complex issues in other matters, a modest enlargement of the

word limitation is appropriate with respect to briefing related to the forthcoming

Motion and will allow the parties to fully and efficiently discuss the distinct issues

raised by the Complaint;

      WHEREAS, the parties have also discussed an appropriate briefing schedule

for the Motion;

         WHEREAS, the parties respectfully submit that the briefing schedule and

word limits set forth below will allow the parties to prepare the most helpful briefs



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so as to allow the efficient consideration by this Court of these significant and

complex issues.

      IT IS HEREBY STIPULATED AND AGREED, by and between the parties,

subject to the approval of the Court, as follows:

      1.     To the extent HP moves to dismiss or to strike the Complaint (the

“Motion”):

      (a)    HP shall file a single opening brief in support of the Motion that shall

not exceed 7,000 words (exclusive of the cover page, table of contents, table of

authorities, and signature block),

      (b)    Plaintiffs shall file an amended complaint or file an answering brief in

opposition to the Motion within 28 days of HP’s filing of its opening brief. If

Plaintiffs file an answering brief, such answering brief shall not exceed 7,000 words

(exclusive of the cover page, table of contents, table of authorities, and signature

block);

      (c)    If Plaintiffs file an answering brief in opposition to the Motion,

Defendant shall file its reply brief in support of the Motion within 14 days of the

answering brief, which shall not exceed 3,500 words (exclusive of the cover page,

table of contents, table of authorities, and signature block).




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      (d)    If Plaintiffs amend their Complaint, the parties shall confer regarding

an appropriate schedule for HP to respond to the amended complaint and shall file a

stipulation for the Court’s consideration.



/s/ P. Bradford deLeeuw                          /s/ Kelly E. Farnan
P. Bradford deLeeuw (#3569)                      Kelly E. Farnan (#4395)
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                                                 farnan@rlf.com
Attorney for Plaintiffs
                                                 Attorney for Defendant HP Inc.

Dated: June 16, 2022


SO ORDERED this __ day of _______ 2022.




                                                   Chief United States District Judge




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